
Donald R. Strickland, Attorney at Law, Raleigh, For Everett, Rebecca B., et al.
Karen M. Rabenau, Attorney at Law, Raleigh, For Everett, Rebecca B., et al.
Jonathan E. Hall, Attorney at Law, Raleigh, For Duke Energy Carolinas, LLC.
Ann-Patton Hornthal, Attorney at Law, Asheville, For FDB, LLC.
Michael Joseph Crook, Attorney at Law, Raleigh, For Duke Energy Carolinas, LLC.
Thomas J. Wilson, Attorney at Law, Lincolnton, For Everett, Rebecca B., et al.
James E. R. Ratledge, Attorney at Law, Raleigh, For Everett, Rebecca B., et al.
Lachicotte Zemp, Jr., Attorney at Law, Asheville, For FDB, LLC.
ORDER
Upon consideration of the petition filed on the 11th of December 2018 by Defendant (Duke Energy Carolinas, LLC) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of August 2019."
